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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

   UNITED STATES OF AMERICA                        §
                                                   §
   v.                                              §           No. 4:20-CR-212
                                                   §           Judge Mazzant
   DEBRA LYNN MERCER-ERWIN (1)                     §


              ORDER GRANTING IN PART JOINT MOTION TO SEAL
                       SELECTED TRIAL EXHIBITS


         On this day came on to be considered the Joint Motion to Seal Selected Trial

  Exhibits.(Dkt. #458) and Joint Amended Motion (Dkt. #459) After careful consideration,

  the Court is of the opinion that there is a valid basis to seal certain exhibits designated by

  the Government and defendant Debra Lynn Mercer-Erwin for the reasons set forth in the

  parties’ joint motion. It is therefore
          ORDERED that the Clerk of the Court seal the following trial exhibits in this case:
           EXHIBIT              GOVERNMENT’S EXHIBIT DESCRIPTION
             NO.

                1          CyrusOne Server Physical Exhibit
                1F         Server Extraction of American Express Transactions from
                           CyrusOne Server
                12         Bank of America Records – 9094 American Guaranty
                           Company - 2015
                13         Bank of America Records – 9094 American Guaranty
                           Company - 2016
                14         Bank of America Records – 9094 American Guaranty
                           Company - 2017
                15         Bank of America Records – 9094 American Guaranty
                           Company – 2018
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          EXHIBIT         GOVERNMENT’S EXHIBIT DESCRIPTION
            NO.

             16       Bank of America Records – 9094 American Guaranty
                      Company - 2019
             17       Bank of America Records – 9094 American Guaranty
                      Company - 2020
             18       DLE Escrow – Bank of America - 1222
             19       CrossFirst (Wright Brother’s Bank Account – 6592)
             20       Navy Federal Credit Union – Kayleigh Moffett
             21       Bank of America – Gustava Ramirez - 2425
             22       Hard drive containing Phone images of Kayleigh Moffett
                      and Debra Mercer
            22A       Cell Phone Image from Hard Drive of Kayleigh Moffett –
                      405-314-5168
            22C       Text files from 405-314-5168 dated 8/27/2015
            23A       Cell Phone Dump of Apple iPhone 11 of Federico
                      Machado – 754-581-2809
            23B       Extraction Report of Cell Phone Dump of Apple iPhone
                      11 of Federico Machado – 754-581-2809
            23C       Text Chats from Federico Machado iPhone dated
                      8/28/2015 and 2/20/2019
             23E      Text Chats from Federico Machado iPhone pgs 822-861
             24       Image of Apple Computer of Federico Machado
             75       Villarrutia Bank of America
             100      Plea Agreement for Raul Francisco De Asis Quevedo
                      Martinez
             105      Plea Agreement for Julio Cesar Olivas-Felix
             111      CrossFirst Bank Statements (5964)
             112      CrossFirst Bank Statements (9783)
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             EXHIBIT            GOVERNMENT’S EXHIBIT DESCRIPTION
               NO.

                   113     CrossFirst Bank Statements (1356)
                   114     Bank of America Bank Statements (9081)


             EXHIBIT           MERCER-ERWIN’S EXHIBIT DESCRIPTION
               NO.

                   16       Debra Mercer-Erwin 2019 Tax Return
                   16.a     Debra Mercer-Erwin 2020 Tax Return
                   16.b     Debra Mercer-Erwin 2021 Tax Return
                   202      JP Morgan Chase records of Federico Machado
                   203      Defendant Raul Francisco De Asis Quevedo Martinez
                            Statement of Facts



         As to Defendant's Exhibit 308 - Video Recording of Defendant's interview, the

      Court orders the Parties to provide explanation as to why this Exhibit should be

      sealed and why it could not be provided in a redacted format, if necessary. It is

      therefore,

             ORDERED that on or before Tuesday, May 30, 2023, the Parties shall
  .
      file explanations as to why Exhibit 308 should be sealed. The Court, after

      reviewing the briefing will make a separate determination as to Exhibit 308.

             IT IS SO ORDERED.
             SIGNED this 17th day of May, 2023.




                                          ___________________________________
                                          AMOS L. MAZZANT
                                          UNITED STATES DISTRICT JUDGE
